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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )             No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
KEVIN K. McALEENAN, et al.,              )
                                         )
                Defendants-Respondents.  )
                                         )

                                   JOINT STATUS REPORT

       On October 22, 2019, the Court ordered the Parties to confer and report on: (1) whether

ICE is or should be allowed to remove from the United States any detained Class Members subject

to the July 26, 2019 Order (ECF No. 310-1), who have been or are later released by ICE; (2) a

proposed agenda for the November 4, 2019 hearing on Petitioners’ motion (ECF No. 304); (3)

whether any or all of Petitioners’ claims are moot, including but not limited to their claim that

Respondents are violating 8 C.F.R. § 241.4(i)(1), which requires a personal interview of an alien

detained for 180 days; and (4) whether there is any reason why the Court should not postpone the

November 4, 2019 hearing.

       Summary: The Parties are attempting to resolve Petitioners’ Motion for Order to Show

Cause and jointly move the Court to postpone the hearing currently scheduled for November 4 and

5, 2019, to a date in December 2019, and to allow the Parties to report on the substantive questions

raised by the Court at a date closer to the hearing.
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       Hearing: The Parties propose that a hearing take place, if necessary, in December1 2019,

in order to permit Respondents time to produce requested documents and/or for the Parties to

resolve any disputes concerning this production.

       Further reporting: The Parties propose that they report to the Court by November 8, 2019,

regarding whether any other individuals have withdrawn their portions of the Motion for Order to

Show Cause and whether any discovery disputes relating to the Motion for Order to Show Cause

remain outstanding. The Parties will report on their positions regarding (1) a proposed agenda for

the hearing, (2) whether ICE may remove individuals who are at issue in Petitioner’s show-cause

motion, and(3) any mootness issues, two weeks before any hearing.

       Individuals released on October 21, 2019: Petitioners hereby withdraw their Motion for

Order to Show Cause (ECF No. 304) as to Ana Rodriguez, Romilson Ferreira, and Elton Moniz,

and agree that the Court should lift the stay of removal (ECF No. 310) currently in place as to these

three indiviudals.




1Undersigned counsel for Respondents is unavailable December 9-10, 2019, due to a previously
scheduled hearing in the Central District of California, and December 23-27, 2019, due to
previously scheduled leave.
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          Respectfully submitted this 25th day of October, 2019.

Respectfully submitted,                           /s/ Shirley X. Li Cantin
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